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                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: Frey v. Bruen                                             _____             Docket No.: 23-365

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

Name: Janet Carter

Firm: Everytown Law

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Appearance for: Everytown for Gun Safety
                                                         (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                  )
                                                         (name/firm)

G Substitute counsel (replacing other counsel:                         _______                                 )
                                                         (name/firm)

G Additional counsel (co-counsel with:                                                                         )
                                                         (name/firm)

G Amicus (in support of: Defendants-appellees
✔                                                                                                              )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on August 10, 2021                                                                               OR

G I applied for admission on                                                                                   .


Signature of Counsel: /s/ Janet Carter

Type or Print Name: Janet Carter
